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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                      Plaintiff,                CR. NO. 17-20595
 v.
                                                HON. MARIANNE O. BATTANI
 YOUSEF RAMADAN,

                      Defendant.
                                        /

            DEFENDANT’S MOTION TO ADJOURN TRIAL DATES

       NOW COMES Defendant, YOUSEF RAMADAN, by counsel, ANDREW

 DENSEMO, of the Federal Community Defender Office, and moves this Honorable

 Court to adjourn the previously scheduled trial dates. In support of his motion,

 defendant states the following.

       1.     A trial in this cause has been previously set for September 3, 2019.

       2.     Mr. Ramadan has been detained at the Milan Federal Detention Center

 for the past several months.

       3.     For the past two to three months, Mr. Ramadan has been denied adequate

 access to the law library at the detention center.

       4.     As a result of being denied access to the law library, Mr. Ramadan has

 been unable to review electronic discovery, as it is kept in the law library.

 Additionally, he has not been able to conduct research regarding the charges, which
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 would enable him to consult with his attorney, which has in turn negatively impacted

 his ability to properly defend against these charges and to receive the best defense

 available to him. Mr. Ramadan has not been able to properly prepare for the

 upcoming trial, and as a result has not been able to assist his attorney in preparing for

 trial.

          5.   An adjournment of all of the previously scheduled trial dates is needed

 in order for defense counsel to provide effective assistance of counsel to Mr.

 Ramadan and for Mr. Ramadan’s right to due process of law to be preserved.

          6.   The defense has exercised due diligence in bringing this matter to the

 court’s attention in that Mr. Ramadan advised and sought the court’s assistance in

 gaining reasonable access to the law library at the detention center. The court even

 instructed the U.S. Marshals’ Service to look into the matter at the last scheduled

 hearing. Mr. Ramadan’s repeated demands for access to the law library have been

 summarily rejected and ignored by the officials at the detention center. Denial of

 access to the law library defeats his rights to due process, has rendered him

 unprepared for trial, and unable to assist his attorney in defending against these

 various serious charges. As a result, he has been forced to seek adjournment of the

 trial date.




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       7.        We are therefore requesting an adjournment of the September 3, 2019,

 trial date so that defense counsel and Mr. Ramadan will have enough time to obtain

 and discuss the discovery materials, research and prepare trial motions, interview

 witnesses, review the physical evidence and scientific reports, and discuss trial

 strategy. The scheduled trial date will not give the defendant enough time within

 which to accomplish all of these objectives, given his inability to utilize the law

 library to review his discovery and conduct legal research. Given the hectic

 schedules of defense counsel and the Assistant U.S. Attorney, in addition to the

 numerous civil and criminal matters pending before the court, additional time is

 requested.

        8.       Defense Counsel advised the attorney for the government of the

 necessity of filing this motion, but has not received a response regarding concurrence

 or objection.

                                         Respectfully submitted,

                                         FEDERAL COMMUNITY DEFENDER
                                         EASTERN DISTRICT OF MICHIGAN

                                         s/Andrew Densemo
                                         ANDREW DENSEMO (P37583)
                                         Attorney for Defendant
                                         613 Abbott, 5th Floor
                                         Detroit, Michigan 48226
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                                         E-mail: andrew_densemo@fd.org
 Dated: August 13, 2019

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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                   Plaintiff,             CR. NO. 17-20595
 v.
                                          HON. MARIANNE O. BATTANI
 YOUSEF RAMADAN,

                   Defendant.
                                    /

                     BRIEF IN SUPPORT OF
         DEFENDANT’S MOTION TO ADJOURN TRIAL DATES
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       The factual representation in support of this brief are outlined in the attached

 motion. Essentially, Counsel and the defendant need additional time to review the

 discovery, prepare trial motions, discuss the materials, interview witnesses, review

 the evidence, and prepare for trial. Section 3161(h)(8)(B)(i)(iv) of title 18 of the

 United States Code provides for granting an adjournment in a case such as this where

 failure to grant the request would be likely to make continuation of such proceedings

 impossible or result in a miscarriage of justice or unreasonably deny the defendant or

 the Government continuity of counsel, or would deny counsel for the defendant or the

 attorney for the Government the reasonable time necessary for effective preparation,

 taking into account the exercise of due diligence. For the reasons herein, Defendant

 request that this Honorable Court enter an order adjourning trial date of September

 3, 2019, to another date and time.

                                        Respectfully submitted,

                                        FEDERAL COMMUNITY DEFENDER
                                        EASTERN DISTRICT OF MICHIGAN


                                        s/Andrew Densemo
                                        ANDREW DENSEMO (P37583)
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 Dated: August 13, 2019

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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                     Plaintiff,               CR. NO. 17-20595
 v.
                                              HON. MARIANNE O. BATTANI
 YOUSEF RAMADAN,

                     Defendant.
                                       /

                            CERTIFICATE SERVICE

       I hereby certify that on August 13, 2019, I electronically filed the foregoing
 Motion with the Clerk of the Court using the ECF system which will send notification
 of such filing to the following:

                                  BENJAMIN COATS and DOUG SALZENSTEIN
                                  Assistant U.S. Attorneys
                                  211 W. Fort Street, Ste. 2300
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                                       FEDERAL COMMUNITY DEFENDER
                                       EASTERN DISTRICT OF MICHIGAN


                                       s/Andrew Densemo
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 Dated: August 13, 2019
